














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-597-08





ADAM SILVA, Appellant


  

v.


  										

THE STATE OF TEXAS


  


  

ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SEVENTH COURT OF APPEALS

GARZA COUNTY




Per curiam. KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure  68.4(i)
because the original petition does not contain a copy of the opinion of the court of
appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: June 18, 2008.

Do Not Publish


